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                             TINITED STATES DISTzuCT COURT
                                DISTRICT OF CONNECTICUT

                                                                                    WB)
I]NITED STATES OF AMERICA                            cRIMINAL      No.3: F cr 41 Lv
               V


KISHORE BABU AMMISETTI                               18 U.S.C. $ 1344 (Baxk Fraud)



                                                                    United States District Court
                                        INFORMATION                   District of Connecticut
                                                                      FILED                        EPONT
       The United States Attorney charges:                                                                20   t1
                                                                            Robin D.              lerk
                                          COUNT ONE                   By
                                          (Bank Fraud)
                                                                                    De      erk

       At all times material herein:

       1.      At all times relevant, the defendant          KISHORE BABU AMMISETTI

("AMMISETTI") was a citizenof India who was living in the United           States   unlawfully.

       2.      At all times relevant, Bank of America ("BOA") was a bank, the deposits of which

were insured by the Federal Deposit Insurance Corporation.

                               The Scheme and Afiifice to Defraud

       3   .   Between on or about July 8, 2017 , to August 2,2018, in the District of Connecticut

and elsewhere, AMMISETTI knowingly and         willfully devised and participated in a scheme            and

artifice to obtain money and funds under the custody and control of   a   financial institution by means

of false and fraudulent presents, representations and promises   as more    fully   set forth below.
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ovetpaid the   Victim. AMMISETTI would          then request from the Victim either a refund in the

amount of the "overpayment," or ask to cancel the transaction with a refund of the entire "deposit"

from the   Victim.   The Victim would typically check his or her BOA account balance to confirm

that funds had been added to their bank account, which BOA would confirm because of the

"provisional credit." The Victim would then conduct             a Peer-to-Peer   (P2P) transfer to

AMMISETTI of the amount       he   requested. The fraudulently transferred funds would be deposited

into an account that AMMISETTI owned and operated.

       8.       After 72 hours, BOA would determine that AMMISETTI's initial claim of the

ATM error was false and would revoke the "provisional credit" funds, thus leaving the Victim

solely responsible for the funds transferred to AMMISETTI and unable to recoup those funds.

       9.       Ammisetti utilized at least 20 bank accounts, 22 phone numbers and 28 email

accounts during the execution of this bank fraud scheme.

        10.     Generally, AMMISETTI received the funds from victims by a P2P transfer and

then withdrew the funds at ATMs and casinos in Connecticut. AMMISETTI also used the funds

to rent cars and sent some money to family in India.

        11.     In furtherance of the above-described scheme and artifice, AMMISETTI caused the

following victims to transfer funds to him:

                a.      Between }i4:ay 14,2018, and June 13,2018, four victims transferred a total

of $7,381 from BOA to AMMISETTI when he was using the alias Alekhya Chowdary.

                b.      Between July 30, 2017, and August3,2017, six victims transferred atolal

of $15,800 from BOA to AMMISETTI when he was using the alias Keerthi Namburi.




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               c.      Between January 24,2018, and July 20,2018, nine victims transferred a

total of 519,234 from BOA to AMMISETTI when he was using the alias Alekhya Sudula.

               d.      Between July 8, 2017,and July 27,2017,four victims transfened a total              of

$12,000 from BOA to AMMISETTI when he was using the alias Saikeerthi Namburi.

        12.    On or about July 30, 2077, through on or about August I,2017, in the District of

Connecticut and elsewhere, AMMISETTI knowingly executed and attempted                      to   execute the

above-described scheme and artifice to obtain money and funds under the custody and control               of

BOA, by means of material false and fraudulent pretenses, representations, and promises, namely,

by falsely representing to Victim A that AMMISETTI had submitted an overpayment to Victim

A's BOA account, requesting that Victim A reimburse AMMISETTI for that overpayment,                      and

causing Victim A to transfer $2,500 to an account controlled by AMMISETTI.

        All in violation of   18 U.S.C.   ç 1344(2).

                                    FORFEITURE ALLEGATION

        13.    Upon conviction       of the bank fraud     offense alleged       in   Count One     of   this

Information, defendant AMMISETTI shall forfeit to the United States of America pursuant to                18


U.S.C. $ 982(aX2), all right, title, and interest in any and all property, real or personal, which

constitutes or is derived from proceeds traceable to each offense in violation of 18 U.S.C. $ 1344

affecting a financial institution, and all property traceable to such property, including but not

limited to:

                Cellular Phone:

                (Ð     An iPhone     10 bearing serial number DNPWN5SYJCLT

        14.      If any of the above-described forfeitable property,   as a   result of any act or omission


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ofthe defendant, cannot be located upon the exercise ofdue diligence, has been transferred, sold

to, or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property which can-not be

divided without diffrculty, it is the intent of the United States, pursuant to 21 U.S.C. $ 853(p), as

incorporated by 18 U.S.C. $ 982(b), to seek forfeiture of any other property of the defendant up to

the value of the forfeitable property described above.

       All in accordance with Title 18 U.S.C.    $ 982, 21 U.S.C. $ 853, and Rule 32.2(a), Federal

Rules of Criminal Procedure.




UNITED STATES OF AMERICA



    NARD C. BOYLE
FIRST ASSISTANT UNITED STATES ATTORNEY




NANC    . GIFFO
ASSISTANT LINITED STATES ATTORNEY




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